      Case 1:21-cr-00038-CRC Document 211 Filed 07/10/23 Page 1 of 1
USCA Case #23-3086     Document #2007030     Filed: 07/10/2023  Page 1 of 1


                 United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                       ____________


No. 23-3086                                                 September Term, 2022
                                                                      1:21-cr-00038-CRC-1
                                                    Filed On: July 10, 2023 [2007030]
United States of America,

               Appellee

       v.

Richard Barnett, also known as Bigo,

               Appellant

                                         ORDER

       Upon consideration of the motion to appeal in forma pauperis, which was
received from appellant, it is, on the court's own motion,

       ORDERED that the motion to appeal in forma pauperis be referred to the district
court for resolution in the first instance. It is

       FURTHER ORDERED that this case be held in abeyance pending further order
of the court.

       The Clerk is directed to transmit this order and the original motion to the district
court. The district court is requested to notify this court promptly following its disposition
of the motion.

                                                          FOR THE COURT:
                                                          Mark J. Langer, Clerk

                                                   BY:    /s/
                                                          Tatiana A. Magruder
                                                          Deputy Clerk

Attachment:
      Motion for Leave to Proceed on Appeal In Forma Pauperis
